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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
 Email Address
 Daniel King, SBN: 207911
 3435 Wilshire Blvd, Ste 1111
 Los Angeles,CA 90010
 Tel: (213)388-3887
 Fax: (213)388-1744
 dking@theattorneygroup.com




      Individual appearing without attorney
      Attorney for: William Spencer

                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION DIVISION

 In re:                                                                       CASE NO.: 2:20-ap-10401-BB
                                                                              CHAPTER: 7
WILLIAM K. SPENCER,
                                                                              NOTICE OF MOTION FOR:
Debtor.                                                                       ORDER TO DISMISS AMENDED ADVERSARY
                                                                              COMPLAINT FOR FAILURE TO STATE A CLAIM
______________________________________________                                PURSUANT TO FRCP 12(b)(6)

GWENDOLYN NOLAN
        Plaintiff

                                                                              (Specify name of Motion)
v.
                                                                              DATE: 05/21/2021
WILLIAM K. SPENCER,                                                           TIME: 2:00 pm
           Defendant                                                          COURTROOM: 1539
                                                                              PLACE: 255 E. Temple St.
                                                                                      Los Angeles, CA 90012
                                                              Debtor(s).

                       ALL INTERESTED PARTIES
1. TO (specify name): _____________________________________________________________________________

2. NOTICE IS HEREBY GIVEN that on the following date and time and in the indicated courtroom, Movant in the above-
   captioned matter will move this court for an Order granting the relief sought as set forth in the Motion and
   accompanying supporting documents served and filed herewith. Said Motion is based upon the grounds set forth in
   the attached Motion and accompanying documents.

3. Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if you
   have one. (If you do not have an attorney, you may wish to consult one.)




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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4. Deadline for Opposition Papers: This Motion is being heard on regular notice pursuant to LBR 9013-1. If you wish
   to oppose this Motion, you must file a written response with the court and serve a copy of it upon the Movant or
   Movant’s attorney at the address set forth above no less than fourteen (14) days prior to the above hearing date. If
   you fail to file a written response to this Motion within such time period, the court may treat such failure as a waiver of
   your right to oppose the Motion and may grant the requested relief.

5. Hearing Date Obtained Pursuant to Judge’s Self-Calendaring Procedure: The undersigned hereby verifies that
   the above hearing date and time were available for this type of Motion according to the judge’s self-calendaring
   procedures.


Date: 05/21/2021                                                               The Attorney Group
                                                                               Printed name of law firm




                                                                               /s/ Daniel King
                                                                                Signature


                                                                               Daniel King
                                                                               Printed name of attorney




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 1   Daniel King, SBN: 207911
     3435 Wilshire Blvd, Ste 1111
 2   Los Angeles, CA 90010
     Tel: (213)388-3887
 3   Fax: (213)388-1744
 4   Attorney for Defendant William Spencer
 5

 6

 7                            UNITED STATES BANKRUPTCY COURT
 8                              CENTRAL DISTRICT OF CALIFORNIA
 9                                      LOS ANGELES DIVISION
10
     In re,                                       )   Case No. 2:20-bk-10401-BB
11                                                )
     WILLIAM K. SPENCER,                          )   Chapter 7
12                                                )
                                                  )   Adversary Case No.: 2:20-ap-01103-BB
13                             Debtor             )
                                                  )   DEFENDANT’S MOTION TO DISMISS
14   GWENDOLYN NOLAN,                             )   FOR FAILURE TO STATE A CLAIM
                                                  )   PURSUANT TO FRCP 12(b)(6)
15                             Plaintiff,         )
                                                  )   Date: June 15, 2021
16   v.                                           )   Time: 2:00 p.m.
                                                  )   Location: Courtroom 1539
17                                                )
                                                  )
18   WILLIAM K. SPENCER,                          )
                                                  )
19                             Defendant.         )
                                                  )
20                                                )
21
     TO HON. SHERI BLUEBOND AND ALL INTERESTED PARTIES:
22

23
              Defendant William K. Spencer moves this Court for Order to Dismiss Amended

24   Complaint For Failure to State a Claim pursuant to Federal Rules of Civil Procedure (“FRCP”)
25
     12(b)(6).
26
                                                1
27   ______________________________________________________________________________________
                 DEFENDANT’S MOTION FOR JUDGMENT ON THE PLEADINGS
28
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 1

 2                                                       I.

 3                                      STATEMENT OF FACTS
 4
            Plaintiff Gwedolyn Nolan (“Nolan”) filed adversary complaint to declare debt allegedly
 5
     owed to her by Defendant William K. Spencer (“Spencer”) to be nondischargeable pursuant to
 6

 7
     11 U.S.C. sec. 523(a)(2). After hearing on Defendant’s Motion for Judgment on Pleadings,

 8   denied by the Court, Plaintiff filed Amended Complaint to Declare Non-Dischargeable pursuant
 9   to 11 USC sec. 523(a)(2) and 523 (a)(4). In or around July 2014, Nolan hired Spencer,an
10
     architect, in connection with a housing project. Nolan paid Spencer $147,000.
11
            The Amended Complaint alleges that after the parties entered into a written agreement
12

13   for architectural services to be performed by Spencer in or around July 2014, Spencer’s proposed

14   plans contained defects as identified by the City
15
            “are of a basic and/or rudimentary nature that no licensed professional would have
16          prepared or presented them as the plans in no manner or form comported with the scope
            of work that Plaintiff had contracted for and had no possibility of being approved by the
17          Los Angeles Department of Building and Safety…”
18   and further alleges that “based upon the manner in which the plans deviated from what Plaintiff
19
     had contracted for and reasonably expected to receive, Defendant had no intention to perform the
20
     work as contracted…” (Amended Complaint, ¶14, 16)
21

22
            Plaintiff further alleges that the “Arbitration Award specifically found that Plaintiff’s

23   damages were the result of fraud committed against her by Defendant”, and that “Defendant’s
24   debt is the consequence of a binding arbitration award, specifically finding that the Arbitration
25

26
                                                2
27   ______________________________________________________________________________________
                DEFENDANT’S MOTION FOR JUDGMENT ON THE PLEADINGS
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 1
     Award is compensatory damages for false pretenses,false representations,and actual fraud
 2

 3
     committed by Defendant against Plaintiff. (Amended Complaint, ¶ 21, 24)

 4          The Arbitration Award attached as Exhibit 1 to Amended Complaint provides in part:
 5
            11. The Arbitrator finds in favor of claimant Gwendolyn Nolan and against respondent
 6   William K. Spencer for breach of contract. Further, respondent Spencer committed fraud in his
     conduct with claimant in his failure to correct his designs, refusing to work on the project
 7   without additional funds from claimant. He refused to correct his own errors unless claimant
     gave him an additional $147,000.
 8

 9

10                                                    II.
11
       SPENCER’S ALLEGED DEBT OWED TO NOLAN IS NOT OBTAINED THROUGH
12
                         FRAUD AND THEREFORE IS DISCHARGEABLE
13
            11 U.S.C. Section 523 provides in part:
14

15          (a) A discharge under section 727 … of this title does not discharge an individual debtor
            from any debt—
16

17
            (2)for money, property, services, or an extension, renewal, or refinancing of credit, to the
            extent obtained by—
18

19
            (A) false pretenses, a false representation, or actual fraud, other than a statement
            respecting the debtor’s or an insider’s financial condition;
20

21   FRCP Rule 12 provides in part:
22
            (b) Every defense to a claim for relief in any pleading must be asserted in the responsive
23          pleading if one is required. But a party may assert the following defenses by motion:

24          (6) failure to state a claim upon which relief can be granted

25
     ///
26
                                                3
27   ______________________________________________________________________________________
               DEFENDANT’S MOTION FOR JUDGMENT ON THE PLEADINGS
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 1
             The Supreme Court explained that a plaintiff’s complaint “must contain sufficient factual
 2

 3
     matter, accepted as true, to ‘state a claim to relief that is plausible on its face’” Ashcroft v. Iqbal,

 4   556 U.S. 662, 678 (2009) [quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)]
 5
     The facts in the Complaint must “raise a right to relief above the speculative level,” and into the
 6
     “realm of plausible liability.” Twombly, 550 U.S. at 555.
 7
             Determining whether a complaint states a plausible claim for relief [is]...a context-
 8
             specific task that requires the reviewing court to draw on its judicial experience and
 9           common sense. But where the well-pleaded facts do not permit the court to infer more
             than the mere possibility of misconduct, the complaint has alleged – but it has not
10           “show[n]” – that the pleader is entitled to relief.”
11   Iqbal,556 U.S. at 679.
12
             Here, Plaintiff Nolan is alleging that Defendant Spencer “had no intention to perform the
13
     work as contracted” because his proposed plans contained defects which are of a
14

15
             “basic and/or rudimentary nature that no licensed professional would have
             prepared or presented them as the plans in no manner or form comported with the scope
16           of work that Plaintiff had contracted for and had no possibility of being approved by the
             Los Angeles Department of Building and Safety”
17

18   Although not stated in the statute, the Supreme Court has held that the scienter,or actual
19
     knowledge of the alleged misrepresentations made, requirement is inherent in sec 523(a)(2).
20
     Field v. Mans, 511 U.S. 59,60 (1995). Either actual knowledge or gross recklessness is required
21
     in respect to scienter. Bullock v. BankChampaign, NA, 133 S.Ct. 1754, 1757. The
22

23   aforementioned allegations is Nolan’s attempt to prove scienter, ie, Spencer had actual

24   knowledge he could not have performed the work called for under the agreement, or
25

26
                                                4
27   ______________________________________________________________________________________
                DEFENDANT’S MOTION FOR JUDGMENT ON THE PLEADINGS
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 1
     was grossly reckless in believing so because no licensed architect would have prepared or
 2

 3
     presented the plans with the kinds of defects enumerated by the Dept. of Building and Safety.

 4   Plaintiff’s aforementioned allegations are utter speculation. Common sense dictates that it is
 5
     extremely difficult, indeed next to impossible to prove said allegations, even if the burden is by
 6
     preponderance of evidence. In effect, Plaintiff is alleging that Defendant is a sham, a con artist
 7
     who not only is not a licensed architect, but does not have any experience doing architectural
 8

 9   work. But, although not specifically alleged by Plaintiff, Defendant was a licensed architect at

10   the time the parties entered into the agreement, and still is a licensed architect.
11
            In short, Plaintiff’s allegations in respect to the scienter requirement under 523(a)(2) falls
12
     within the realm of speculation, not “plausible liability.” In that regard, Plaintiff’s allegations
13
     that the debt in question is the “consequence of a binding arbitration award, specifically finding
14

15   that the Arbitration Award is compensatory damages for false pretenses,false representations,and

16   actual fraud committed by Defendant against Plaintiff” is inaccurate as said arbitration award
17
     does not contain such findings; therefore, there is no issue preclusion as to the scienter
18
     requirement under 523(a)(2).
19

20
     523(a)(4)

21          Although not alleged in the body of the Amended Complaint , Plaintiff alleges the
22
     nondischargeability of the debt is also based on 523(a)(4) as stated on the caption page. Said
23
     section provides that debts are nondischargeable “for fraud or defalcation while acting in a
24

25

26
                                                5
27   ______________________________________________________________________________________
                 DEFENDANT’S MOTION FOR JUDGMENT ON THE PLEADINGS
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 1
     fiduciary capacity, embezzlement, or larceny”. There are no allegations that the parties are in a
 2

 3
     fiduciary relationship nor are there allegations relating to embezzlement and larceny.

 4

 5
                                                     III.
 6
                                              CONCLUSION
 7
            Based on the foregoing, Defendant respectfully requests the Court to grant his Motion to
 8

 9   Dismiss for Failure to State a Claim in regards to both sec 523(a)(2) & (a)(4)..

10

11
     Dated: May 21, 2021                                          By: ________________________
12                                                                       Daniel King, attorney for
                                                                         Defendant
13

14

15

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25

26
                                                6
27   ______________________________________________________________________________________
                DEFENDANT’S MOTION FOR JUDGMENT ON THE PLEADINGS
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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 3435 Wilshire Blvd, Ste 1111, Los Angeles, CA 90010


A true and correct copy of the foregoing document entitled: NOTICE OF MOTION FOR (specify name of motion)
 DEFENDANT’S MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM PURSUANT TO FRCP 12(b)(6)
_______________________________________________________________________________________________
_______________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
05/21/2021 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
Carolyn A Dye (TR) trustee@cadye.com, cdye@ecf.axosfs.com;atty@cadye.com
Lane M Nussbaum lnussbaum@nussbaumapc.com, info@nussbaumapc.com
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 05/21/2021 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Hon. Sheri Bluebond
US Bankruptcy Courthouse
255 E. Temple St., Ste 1534
Los Angeles, CA 90010
                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 05/21/2021        Daniel King                                                       /s/ Daniel King
 Date                       Printed Name                                                    Signature


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